        Case 1:16-cv-00690-CL          Document 113        Filed 01/30/19     Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON



JOHN ERIC SMITH,

                               Plaintiff,
                                                              Case No. 1:16-cv-00690-CL
UNITED STATES OF AMERICA,

                               Defendant.

                      ORDER TO RETURN CUSTODY OF EXHIBITS

       IT IS ORDERED that at the conclusion of the trial, the parties retain custody of their

respective exhibits until such time as all need for the exhibits has terminated.

       DATEDthis-       ··3odayof       ,v/"Yl   V?j201q                           /



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                                                      MARKD. CLARKE
                                                      US Magistrate Court Judge


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                                              Attorney for Plaintiff - Kelly Andersen

DATED: \ \ \'--\\ L\D \C\                        )j w,_c,.b (:) ,r-ii-,lj   isCP.NY:>
                                              Attorney for Defendant - sanne Luse
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Page 1 - ORDER
